          Case 1:21-vv-00640-UNJ Document 33 Filed 07/29/22 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-0640V
                                        UNPUBLISHED


    LINDA PRESSEY,                                          Chief Special Master Corcoran

                        Petitioner,                         Filed: June 23, 2022
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Leigh Finfer, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Steven Santayana, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On January 12, 2021, Linda Pressey filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered left shoulder injuries related to vaccine
administration (“SIRVA”) as a result of an influenza vaccine received on September 16,
2019. Petition at 1. Petitioner further alleges she received the vaccine in the United
States, her condition persisted for more than six months, and neither Petitioner nor any
other party has ever filed an action, or received compensation in the form of an award or
settlement, for Petitioner’s vaccine-related injury. Petition at ¶¶ 2, 9-11. The case was
assigned to the Special Processing Unit of the Office of Special Masters.



1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
         Case 1:21-vv-00640-UNJ Document 33 Filed 07/29/22 Page 2 of 2




        On June 23, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent agrees that “petitioner’s claim meets the Table criteria for
SIRVA.” Id. at 5. Respondent further agrees that the records show that the case was
timely filed, the vaccine was received in the United States, and that Petitioner satisfied
the statutory severity requirement by suffering the residual effects or complications of her
injury for more than six months after vaccine administration. Id. Respondent adds that
Petitioner averred that she has never received an award or settlement for her vaccine
injuries or filed a civil action. Id. (citing Ex. 7 at 1).

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                        s/Brian H. Corcoran
                                                        Brian H. Corcoran
                                                        Chief Special Master




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